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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES                       )
                                    )
v.                                  )                 Case No. 1:21-cr-40
                                    )
QUAGLIN                             )
____________________________________)

      NOTICE OF DEFENDANT’S INTENTION TO FILE A MOTION FOR A
CONTINUANCE OF TRIAL SCHEDULED FOR APRIL 10, 2023, AND REQUEST FOR
  AN ORDER GRANTING A CONTINUANCE WITH DATE TO BE DETERMINED

TO THE COURT:

       At a hearing before the Court on March 14, 2023, undersigned counsel gave notice on the

record that his intention to file a motion for a continuance with the Court for the trial that is

scheduled for April 10, 2023.

       Counsel for Defendant, attorney Jonathan Gross, is Jewish and strictly observes the

Biblical holidays, including the holiday of Passover, which falls this year from April 5 until April

13. Trial for the Defendant is currently scheduled for April 10, 2023, which is right in the

middle of Passover. The trial was scheduled for that time long before Mr. Gross was retained by

Mr. Quaglin.

       On February 20, 2023, Mr. Gross contacted counsel for the government and asked, as a

courtesy, for the government to consent to a continuance so that Mr. Gross could attend the trial.

At that time, Mr. Quaglin’s lead attorney was Joseph McBride, and at the time Mr. McBride had

every intention of representing Mr. Quaglin at trial.           Mr. Gross simply requested the

government’s consent to a continuance as a courtesy. The government declined to extend that

courtesy. Mr. Gross informed Mr. McBride and Mr. Quaglin at that time that he would not be

able to attend the trial due to observance of the Jewish holiday.
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       On March 6, 2023, Mr. McBride decided to withdraw from this case, and the Court

approved his withdrawal within hours without arranging a hearing to consider how his

withdrawal may affect the case. As a result, five weeks before trial, Mr. Gross unexpectedly

became lead counsel.

       Mr Gross has since given the court notice that he would be filing a motion for a

continuance at the hearing before the Court on March 14, 2023.

       On March 15, Mr. Gross requested again that the government consent to a continuance

given the new circumstances, but the government still refuses, and insists that Mr. Quaglin

proceeded to trial even though his attorney cannot attend due to a religious holiday, through no

fault of Mr. Gross.

       At this time, the Defendant respectfully request that the Court order a continuance for the

trial without setting a new date until the Defendant has a chance to properly brief a motion for a

continuance that requests a fair amount of time for Mr. Quaglin’s new counsel to prepare with his

client for trial, given the unique circumstances of Mr. Quaglin’s case. Mr. Gross asks for leave

until March 23, 2023 to brief the motion for continuance.

                                         CONCLUSION

       For the foregoing reasons, Defendant requests that the Court issue an Order continuing

the trial scheduled for April 10, 2023 for a date to be determined, and grant leave for the

Defendant to file a Motion for Continuance until March 23, 2023.
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Dated: March 15, 2023                                      Respectfully submitted,

                                                           /s/ Jonathan Gross
                                                           Jonathan Gross
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                               CERTIFICATE OF SERVICE

 I hereby certify that a copy of the foregoing is being served on opposing counsel via email on

                                        March 15, 2023

                                      /s/ Jonathan Gross
